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                Exhibit 10
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October 8, 2019                                                                              Marc E. Elias
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Secretary of State Jocelyn Benson
Michigan Department of State
Lansing, MI 48918

Re:    Unconstitutional Michigan Voting Laws

Dear Secretary Benson:

I am writing on behalf of Priorities USA regarding several state election laws that inhibit full
access to the franchise for many Michiganders and threaten to undermine the recent expansion of
voting rights enshrined in the Michigan Constitution, as well as the federal and state constitutional
protections afforded to political speech and associational rights. As you know, the Michigan
Constitution was recently amended, due to the passage of Proposal 3 (2018), to expand voting
opportunities for Michiganders and to guarantee the right to register to vote on Election Day (and
14 days before), as well as the right to be automatically registered to vote when conducting
business with the Secretary of State, among others. We are concerned that some of the recently
enacted implementing statutes, along with other laws limiting assistance that my client and other
501(c) organizations can provide voters, impose needless barriers to the voting process and violate
the United States and Michigan Constitutions. We know that you share our goal of ensuring that
all eligible Michiganders are able to vote and should not face unnecessary barriers in doing so. It
is in that spirit that we are writing you to protect this fundamental right.

First, the newly enacted Michigan statute implementing the constitutional right to register to vote
on, or within 14 days of, Election Day adopts an overly restrictive definition of “proof of
residency.” Under the statute, only a small subset of documents is deemed acceptable to establish
residency, which inhibits some Michigan residents, particularly young voters, from participating
in the expanded registration window. Second, Michigan’s ban on the transportation of voters to
polling locations imposes an undue burden on constitutionally protected speech and associational
rights, inhibits get-out-the-vote (“GOTV”) efforts, limits political engagement in the critical
moments of an election, and ultimately results in less voting among those who have difficulty
getting to polling places. Third, Michigan’s restriction on soliciting or returning absentee ballot
applications is impermissibly vague. It potentially covers a wide range of constitutionally protected
voter assistance-related activities and goes much further than necessary to prevent fraud.

We are concerned that these laws, if allowed to remain in place, will burden Michiganders’ right
to vote and to participate in the political process. Thus, we respectfully ask that you request an
opinion from Attorney General Dana Nessel regarding the constitutionality of these Michigan
laws, pursuant to Michigan Compiled Laws Section 14.32, which requires the Attorney General
to provide an “opinion upon all questions of law submitted. . . by . . . any [] state officer.”
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Finally, we seek your guidance on how the State plans to interpret and implement the new
automatic voter registration provision of Article II, Section 4(1)(D) of the Michigan Constitution,
which provides qualified residents who conduct business with the Secretary of State regarding
driver’s licenses or state identification cards (“state IDs”) the right to be automatically registered
to vote. Currently, we understand that young Michigan residents who obtain driver’s licenses and
state IDs before turning 17.5 years old (the minimum age to be eligible to register to vote) are not
being automatically registered upon reaching the age of eligibility. Rather, these Michiganders
must either have further contact with the Secretary of State’s Office to benefit from this
constitutional right or register to vote on their own. To ensure that young voters receive the full
benefit of Section 4(1)(D), we request that you automatically register all residents who previously
conducted business with the Secretary of State’s Office once they reach the age of 17.5 years old.

  I.   The New Proof of Residency Statute is Unconstitutional.

As a result of the new voting rights enshrined in the State Constitution, Michigan voters can now
register to vote on, or during the 14 days before, Election Day. Yet, many of Michigan’s voters
will be denied meaningful access to this expanded opportunity to register because of a recently
enacted statute that adopts an exceedingly narrow definition of the “proof of residency” required
to register during this timeframe.

Under Section 168.497 of the Michigan Compiled Laws, an individual who seeks to register to
vote on, or during the 14 days before, Election Day can establish her residency by presenting one
of the following five enumerated documents, so long as it shows “residency in that city or
township”: (1) a Michigan operator’s license; (2) a chauffeur’s license; (3) an enhanced driver’s
license; (4) an enhanced state personal identification card; or (5) certain official state personal
identification cards. Id. at (2)(a)-(b).

If an individual does not have any of the five enumerated identification documents, she can register
to vote by signing an affidavit affirming that fact and presenting a current utility bill, bank
statement, paycheck, government check, or “other government document,” as long as it “contains
the applicant’s name and current residence address.” Id. at (4). In this scenario, an eligible
Michigan voter can cast a challenged ballot.

This statutory scheme permits only a limited subset of documents to establish residency. A voter
who attempts to register without these documents—including voters who submit an affidavit and
a utility bill—can only cast a “challenged ballot.” Id. at (5). This weighs most heavily on young
voters, particularly those who live with family members or in private college dormitories, who are
less likely to possess the requisite identification documents. And these restrictions are entirely
unnecessary because they are duplicative of other safeguards that are in place to verify residency.
For example, all individuals must sign an affirmation on their voter registration application, under
penalty of perjury, that the “address where you live” listed on the application “is true.” See MICH.
SEC’Y       OF    STATE,      State    of     Michigan      Voter     Registration       Application,
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https://www.michigan.gov/documents/MIVoterRegistration_97046_7.pdf; see also MICH. COMP.
LAWS § 168.933.

The statute’s narrow interpretation of “proof of residency” is also inconsistent with the State
Constitution’s requirement that the enumerated rights in Article II, Section 4 be construed
“liberally . . . in favor of voters’ rights in order to effectuate its purposes.” MICH. CONST. Art. II,
§ 4(1). By curtailing the forms of acceptable “proof of residency” in a way that excludes other
commonly-held documents that demonstrate residency, the statute prevents many voters from
exercising their right to register within 14 days of an election or on Election Day and therefore
violates the Michigan Constitution. We respectfully ask that you seek an advisory opinion from
the Attorney General regarding the constitutionality of the proof of residency statute.

 II.   Michigan’s Prohibition on the Transportation of Voters to Polling Locations Violates
       the United States and Michigan Constitutions.

We have similar doubts regarding the constitutionality of the Michigan law that prohibits the
transportation of voters to polling locations. The statute specifically provides that a person is guilty
of a misdemeanor for “hir[ing] a motor vehicle or other conveyance or cause the same to be done,
for conveying voters, other than voters physically unable to walk, to an election.” MICH. COMP.
LAWS § 168.931. Put simply, this law is unconstitutional, as it criminalizes behavior that is
protected by the First Amendment to the United States Constitution and the Michigan Constitution.

Both the United States and Michigan Constitutions guarantee freedom of speech and association,
and political “speech . . . occupies the core of th[at] protection.” McIntyre v. Ohio Elections
Comm’n, 514 U.S. 334, 346 (1995); see also Thomas M. Cooley Law Sch. v. Doe, 300 Mich. App.
245, 256 (Mich. App. Ct. 2013) (“The United States and Michigan Constitutions provide the same
protections of the freedom of speech.”). By prohibiting the transportation of voters to polling
locations, the statute inhibits protected political activities, including important GOTV efforts,
which often include transporting voters to the polls. See Branti v. Finkel, 445 U.S. 507, 529 n.10
(1980) (“[T]he citizen who transports voters to the polls on Election Day performs a valuable
public service.”); League of Women Voters of Fla. v. Cobb, 447 F. Supp. 2d 1314, 1333 (S.D. Fla.
2006) (holding that persuading others to vote was protected “political speech and association”). It
is unclear, for instance, whether “Souls to the Polls” programs and other efforts to engage
communities in the political process and facilitate their exercise of the right to vote would survive
scrutiny under this transportation restriction. Thus, the statute limits political speech, as the
inability of campaigns, voter advocacy organizations, and others to pay individuals to drive voters
to the polls may result in fewer individuals being willing to serve as drivers and, ultimately, less
voting among those who have difficulty getting to polling places. See Meyer v. Grant, 486 U.S.
414, 428 (1988) (holding that that banning petition circulators from receiving payment
unconstitutionally restricted free speech).
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Meanwhile, the State does not have an interest that justifies this transportation restriction, nor is
the law narrowly tailored to address any specific concern. Vote buying and other forms of
corruption in elections are already effectively addressed by existing statutes. See, e.g., MICH.
COMP. LAWS § 168.931(1)(a) (making it a misdemeanor to “either directly or indirectly, give, lend,
or promise valuable consideration, to or for any person, as an inducement to influence the manner
of voting by a person relative to a candidate or ballot question, or as a reward for refraining from
voting”); id. § 168.932(a) (making it a felony to “attempt, by means of bribery, menace, or other
corrupt means or device, either directly or indirectly, to influence an elector in giving his or her
vote, or to deter the elector from, or interrupt the elector in giving his or her vote at any election
held in this state”). Further, the statute’s prohibition on transporting voters “other than [those]
physically unable to walk” discriminates against Michiganders who are physically “able to walk”
but otherwise require assistance to get to the polls.

Because the transportation restriction is unconstitutional, we respectfully request that you seek an
opinion from the Attorney General regarding the constitutionality of Michigan Compiled Laws
Section 168.931.

 III.   Michigan’s Restrictions on Political Activity Relating to Absentee Ballot Applications
        Violate the U.S. and Michigan Constitutions.

Michigan laws that impose restrictions on providing assistance to voters by encouraging absentee
voting or returning absentee ballot applications are also incompatible with the United States and
Michigan Constitutions. Specifically, Michigan Compiled Laws Section 168.759 requires an
individual who assists another voter regarding an absentee ballot application to affirm that she did
not “solicit or request to return the application,” id. at (5), and it prohibits an individual from
assisting another voter in returning such an application unless the “applicant cannot return the
application” via mail, personal delivery, or with the help of an “immediate family” member. Id. at
(6)(a)-(d) (emphasis added).

These restrictions—to the extent they prohibit communications informing voters of their right to
request or vote an absentee ballot, urging people to request an absentee ballot application,
distributing absentee ballot application forms to voters, or requesting to return absentee ballots—
chill protected political speech and the right of association in violation of the First Amendment to
the United States Constitution and the free speech protections of the Michigan Constitution. See,
e.g., Vill. of Schaumburg v. Citizens for a Better Env’t, 444 U.S. 620, 633 (1980) (holding
charitable solicitations protected by the First Amendment); Am. Ass’n of People with Disabilities
v. Herrera, 690 F. Supp. 2d 1183, 1215-16 (D. N.M. 2010) (finding that the plaintiff’s generalized
third-party voter registration activity, which encouraged and helped individuals register to vote,
implicated expressive conduct because it was intended to “convey a message that voting is
important”); League of Women Voters of Fla. v. Browning, 575 F. Supp. 2d 1298, 1321 (S.D. Fla.
2008) (“Plaintiffs’ interactions with prospective voters in connection with their solicitation of voter
registration applications constitutes constitutionally protected activity.”); Cobb, 447 F. Supp. 2d
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at 1333 (holding that persuading others to vote was protected “political speech and association”).
The statute’s use of the term “solicit” is also unconstitutionally vague and may ultimately deter
other forms of permitted, expressive conduct. See Nat’l People’s Action v. Blue Island, 594 F.
Supp. 72, 80 (N.D. Ill. 1984) (holding “solicit” in an ordinance unconstitutionally vague).

To be clear, the statute exceeds what is necessary to protect against fraud in light of the other
safeguards in place. For example, each registered elector who helps a voter return an absentee
ballot application must “sign the certificate on the absent voter ballot application” and must certify
that, among other things, he or she “ha[s] not made any markings on the application”; “ha[s] not
altered the application in any way”; “ha[s] not influenced the applicant”; and is “aware that a false
statement in this certificate is a violation of Michigan election law.” MICH. COMP. LAWS §
168.759(5). And Michigan law even restricts those who can be in possession of a signed absentee
ballot application to the applicant, her immediate family, someone in her household, someone
whose job includes handling mail, a registered elector chosen by the applicant to return the
application, or an authorized election official. See id. at (4). 1

Thus, we respectfully request that you seek an advisory opinion from the Attorney General
regarding the constitutionality of the provisions Michigan Compiled Laws Section 168.759 to
ensure that the voting rights enshrined in the Michigan and United States Constitutions are given
full effect.

 IV.   The Automatic Registration Provision Must be Interpreted in a Manner that Does
       Not Violate the United States and Michigan Constitutions.

The Michigan Constitution now guarantees that “an elector qualified to vote in Michigan shall
have . . . the right to be automatically registered to vote as a result of conducting business with the
secretary of state regarding a driver’s license or personal identification card.” MICH. CONST., art.
II, § 4(1)(d) (the “Automatic Registration Provision”). Michigan residents are eligible to register
to vote at the age of 17.5 years old, MICH. COMP. LAWS § 168.492, and it is our understanding that,
under current practice, only those who conduct business with the Secretary of State after reaching
this age are being automatically registered. We believe, however, that the Automatic Registration
Provision requires that residents who obtain licenses or state IDs well before reaching the age of
eligibility be automatically registered to vote once becoming 17.5 years old.



1
  Absentee ballot applications in Michigan state explicitly that false statements on an application
are a criminal misdemeanor offense. MICH. COMP. LAWS § 168.759(5). And a separate Michigan
statute makes it a felony to forge a signature on an absentee ballot application. Id. at (8) (“A person
who forges a signature on an absent voter ballot application is guilty of a felony.”).
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Many residents under the age of 17.5 obtain licenses or ID cards and have no further interaction
with the Secretary of State until years after. For example, Michigan residents as young as 14 years
and 9 months old can obtain a Level 1 graduated (or learner’s) license. MICH. COMP. LAWS
§ 257.310e(3), (7). These young residents can later obtain a Level 2 graduated (or intermediate)
license after six months and a Level 3 graduated (or full) license at the age of 17, all without having
to go to a Secretary of State branch office. Id. § 257.310e(5)-(7), (9). 2 Further, a Michigan resident
can obtain a state ID at any age, and the card remains valid for up to four years from the resident’s
last birthday. 3 Thus, as currently implemented, the Automatic Registration Procedure may not
reach a significant number of residents who have already obtained Level 3 licenses or state IDs
and have no reason to return to a Secretary of State branch office until several years after reaching
the age of eligibility to register to vote. 4

The current application of the Automatic Registration Procedure is not only contrary to the text of
Article II, Section 4(1)(d), but it contravenes the Michigan Constitution’s mandate that all
provisions of Article II, Section 4(1) be “liberally construed in favor of voters’ rights in order to
effectuate its purposes.” Requiring voters to conduct business with the Secretary of State after
reaching the age of 17.5 in order to be automatically registered unduly limits the exercise of this
constitutional right and is inconsistent with the goal of expanding access to the franchise,
particularly for young voters. 5 To implement and give full effect to Section 4(1)(d), we request
that the Secretary of State automatically register Michigan residents who are already in the
Secretary of State’s database—because they previously obtained a graduated driver’s license or
state ID—once they reach 17.5 years of age. And there should be no requirement that those under
the age of 17.5 years take any additional steps or have further contact with the Secretary of State’s
Office in order to be automatically registered to vote once eligible. We ask that your office
reconsider its current interpretation and practice to avoid the need for judicial intervention.



2
   MICH. SEC’Y OF STATE, Graduated Driver Licensing Eligibility Requirements,
https://www.michigan.gov/sos/0,4670,7-127-1627_60169_60175_84272-269642--,00.html (last
visited Aug. 28, 2019).
3
  See MICH. COMP. LAWS § 28.291; MICH. SEC’Y OF STATE, What Every Driver Must Know,
Chapter           3:         Voter         Registration           and          State         IDs,
https://www.michigan.gov/documents/sos/WEDMK_Chapter_Three_Voter_Registration_and_St
ate_ID_613799_7.pdf (last visited Oct. 7, 2019).
4
  The Level 3 graduated license remains valid until the driver turns 21 years old. Mich. Sec’y of
State, What Every Driver Must Know–Chapter 1: Your Driver’s License 10,
https://www.michigan.gov/documents/sos/WEDMK_Chapter_One_Your_Drivers_License_6137
96_7.pdf (last visited Aug. 28, 2019).
5
  See Hearings Before the H. Comm. On Elections and Ethics, State of Michigan 100th Legislature
(2019) (testimony of Secretary of State Jocelyn Benson), http://house.mi.gov/sessiondocs/2019-
2020/testimony/Committee500-3-6-2019.pdf.
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